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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


  MARVEL CHARACTERS, INC.,                            Case No.: 1:21-cv-05316-NM-TAM

                        Plaintiff,                    Hon. Nina Morrison

         v.                                           DECLARATION OF MOLLY M. LENS
                                                      IN SUPPORT OF MARVEL
  NANCI SOLO and ERIK COLAN,                          CHARACTERS INC.’S LOCAL RULE
                                                      56.1 STATEMENT OF MATERIAL
                        Defendants.                   FACTS IN SUPPORT OF ITS MOTION
                                                      FOR SUMMARY JUDGMENT




  NANCI SOLO and ERIK COLAN,

                        Counterclaimants,

         v.

  MARVEL CHARACTERS, INC. and DOES
  1-10, inclusive,

                 Counterclaim-Defendants.


         I, Molly M. Lens, pursuant to 28 U.S.C. § 1746, declare as follows:

         1.      I am a partner at O’Melveny & Myers LLP, counsel for plaintiff Marvel Characters,

  Inc. (“MCI”) in this action, and a member of the Bar of this Court. I submit this declaration based

  on my personal knowledge and review of the documents referenced herein. If called and sworn as

  a witness, I could and would testify competently thereto.

         2.      In support of MCI’s Local Rule 56.1 Statement, I state as follows:

         3.      Attached hereto as Exhibit 1 is a true and correct copy of MCI’s Pre-Motion

  Conference Letter to Magistrate Judge Taryn A. Merkl dated August 30, 2022.
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         4.      Attached hereto as Exhibit 2 is a true and correct copy of excerpts (pages 1-3, 74-

  98, 159-160, 179) from the Certified Transcript of Nanci Solo’s October 28, 2022 Deposition.

         5.      Attached hereto as Exhibit 3 is a true and correct copy of Gene Colan’s

  Administrative File with the Surrogate’s Court of the State of New York, King’s County.

         6.      Attached hereto as Exhibit 4 is a true and correct copy of excerpts (pages 4-5, 34-

  35) from Tom Field’s biography Secrets in the Shadows: The Art & Life of Gene Colan.

         7.      Attached hereto as Exhibit 5 is a true and correct copy of excerpts (pages 1-2, 15,

  18) from the Certified Transcript of Gene Colan’s “Comicology” Interview.

         8.      Attached hereto as Exhibit 6 is a true and correct copy of Defendant Nanci Solo’s

  Responses and Objections to Plaintiff’s First Set of Requests for Admission to Nanci Solo.

         9.      Attached hereto as Exhibit 7 is a true and correct copy of Defendant Erik Colan’s

  Responses and Objections to Plaintiff’s First Set of Requests for Admission to Nanci Solo.

         10.     Attached hereto as Exhibit 8 is a true and correct copy of MCI’s Complaint, with

  termination notices attached thereto, dated September 24, 2021.

         11.     Attached hereto as Exhibit 9 is a true and correct copy of Nanci Solo and Erik

  Colan’s Amended Answer and Counterclaim, with termination notices attached thereto, dated

  December 15, 2021.

         12.     Attached hereto as Exhibit 10 is a true and correct copy of MCI’s Supplemental

  Complaint, with termination notice attached thereto, dated April 1, 2022.

         13.     Attached hereto as Exhibit 11 is a true and correct copy of Nanci Solo, Erik Colan,

  and Rachel Waldman’s “Alternate” Termination Notices, dated November 15, 2022.

         14.     Attached hereto as Exhibit 12 is a true and correct copy of The New York Times’

  Corrections to Gene Colan’s Obituary, dated June 29, 2011.




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         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct, and was executed on December 2, 2022 in Los Angeles, CA.



                                                             By: _________________________

                                                                     Molly M. Lens




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